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                              United States District Court
                             for the District of New Jersey


____________________________________________
                                                      :
UNITED STATES OF AMERICA                              :
                Plaintiff                             :      Criminal No. 12-112
                                                      :
                       vs.                            :
                                                      :      Order of Reassignment
VITALY KOVALEV                                         :
                Defendant                     :
                                              :
_____________________________________________ :




          It is on this 31st day of March, 2015,

          O R D E R E D that the entitled action is reassigned

          from Judge Faith S. Hochberg to Judge Madeline C. Arleo.




                                           s/Jerome B. Simandle
                                           Jerome B. Simandle, Chief Judge
                                           United States District Court
